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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
                                                          CRIMINAL NUMBER:
v.
                                                          1:18-cr-00032-DLF
INTERNET RESEARCH AGENCY LLC, et
al.,

        Defendants.


     DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S REPLY IN
       SUPPORT OF ITS MOTION FOR DISCOVERY REGARDING SELECTIVE
                             PROSECUTION

        Only the government knows if it has selectively chosen to prosecute the defendants in

this case instead of similarly situated persons. But in its Opposition, the Special Counsel argues

a riddle. On the one hand, he states that Defendant Concord does not identify any similarly

situated parties to use as a control group in assessing Concord’s right to discovery in connection

with a potential selective prosecution claim. On the other hand, however, the Special Counsel

insists that the government’s history of prosecuting campaign contribution violation cases

unrelated to the 2016 presidential election demonstrates that other non-Russian persons have

been prosecuted for similar conduct. The result is that while arguing against any discovery the

Special Counsel unilaterally and selectively chooses and discloses dissimilar prosecutions to

support the ultimate issue as to whether the prosecution in this case is unlawful. That concession

alone supports that the government should be ordered to disclose all instances where individuals

or entities similarly situated to the defendants here were prosecuted or not prosecuted.

        I.       Argument

        The Special Counsel makes essentially three arguments in its Opposition (“Opp.”), each

of which should be rejected by this Court.



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        First, he argues that the examples Concord has given of well-documented non-Russian

attempted interference in the 2016 election were not an adequate control group for purposes of

identifying “similarly situated” individuals as part of a selective prosecution claim. But the

Special Counsel offers no legal basis for concluding that these examples—given the unique facts

of this case where much foreign interference on social media will likely go unreported and occur

out of the public view—fail to meet Concord’s burden, particularly at the discovery stage.

        Second, the Special Counsel identifies its own cherry-picked set of allegedly similar

prosecutions, which he claims demonstrate that Concord was not singled out for prosecution in

this case.   Those references to cases involving allegedly unlawful campaign contributions,

however, are easily distinguishable and further demonstrate how the Special Counsel continues

to use the vague charging language in the Indictment to twist the law in an effort to suit his own

ends.

        Third, the Special Counsel argues that the Appointment Order purportedly authorizing

his activities is not evidence of discriminatory intent (even though it specifically identifies

Russia and no other nation or national origin), because that Order was issued in response to

certain “assessments” by “the U.S. Intelligence Community.” Opp. 1. This argument does

nothing to mitigate the evidence of discriminatory intent because at the time of the Special

Counsel’s appointment, the Deputy Attorney General stated that he had made no determination

of whether crimes had been committed or that any prosecution was warranted. Department of

Justice Press Release No. 17-541, Appointment of Special Counsel (May 17, 2017). Yet, the

Appointment Order specifically targets a single nationality—Russians—by referencing Russia

three times in the one-page order. Moreover, the mere fact that Concord has put forth “some

evidence” tending to show intent—by way of the Special Counsel’s Appointment Order—is




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sufficient at this stage of proceedings. United States v. Armstrong, 517 U.S. 456, 468-70 (1996);

United States v. Hsia, 24 F. Supp. 2d 33, 49 (D.D.C. 1998) (acknowledging that the standard for

obtaining discovery “necessarily is lower than the ‘clear evidence’ standard required for

dismissal of the indictment”), reversed in part and appeal dismissed, 176 F.3d 517 (D.C. Cir.

1999) (citing Armstrong, 517 U.S. at 470). In sum, because the Special Counsel has done little

more than dispute what it means to be “similarly situated” for purposes of this unprecedented

prosecution, discovery is needed to determine whether there is a basis for Concord’s potential

selective prosecution claim.

       The Special Counsel does not address, and as such concedes, that no case like this has

ever been brought against anyone, that is, a Section 371 defraud prong conspiracy to allegedly

interfere in an election (which is not a crime in and of itself) by posting information on social

media. Only the government knows if it has declined to prosecute similar cases (most likely

because the Department of Justice operating in its normal manner, as opposed to through the

Special Counsel, concluded in those instances that no crime was committed).

               A.     The fact that the parties dispute the scope of “similarly situated” does
                      not preclude discovery in support of Concord’s selective prosecution
                      motion

       The parties essentially dispute what it means to be “similarly situated” for purposes of the

selective prosecution test in these unique circumstances. The Special Counsel identifies certain

factors that he believes distinguish the conduct identified in Concord’s Motion from the conduct

alleged in the Indictment. Opp. 7-8. Yet, in supporting its argument, the Special Counsel does

little to show how these publicly-reported attempts at interference in the 2016 election by non-

Russian individuals do not involve “roughly the same crime under roughly the same

circumstances but against whom the law has not been enforced.” United States v. Khanu, 664 F.

Supp. 2d 28, 32 (D.D.C. 2009) (internal quotation marks omitted).


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       In attempting to distinguish the conduct of Ukrainian officials who sought to support the

campaign of candidate Hillary Clinton and disparage the campaign of then-candidate Trump, the

Special Counsel argues that because social media posts critical of then-candidate Trump were

made under their real identities the conduct does not involve “deception,” which the Special

Counsel argues is an essential element of conspiracy to defraud the United States under

Hammerschmidt. Opp. at 7 (citing Hammerschmidt v. United States, 265 U.S. 182, 188 (1924)).

In doing so, the Special Counsel entirely ignores the evidence cited in Concord’s Motion that

Ukrainian officials also disseminated unauthenticated documents in an effort to discredit the

Trump campaign. Mot. 9.

       Further, Concord did cite examples of individuals who met to discuss using fake (i.e.

deceptive) Facebook accounts as part of an online manipulation program designed to help elect

candidate Trump. Mot. 9-10. Yet the Special Counsel now suggests that even that is not

enough, noting that “an offer does not amount to ‘similar conduct’ to the conduct charged in the

indictment.” Opp. 7. It is particularly ironic for the Special Counsel to now argue that Concord

must identify individuals who actually committed the underlying crime in order to be

“similarly situated” in the context of a § 371 defraud clause conspiracy when it has previously

argued that the government does not need to allege an underlying substantive offense. Gov’t

Opp. to Defendant’s Mot. to Dismiss (ECF No. 56) at 8-13.

       The Special Counsel goes on to try to distinguish the example of Christopher Steele by

stating, without citation to any legal authority, that “acting as an anonymous source for media

articles is not similar to conducting information warfare against the United States.” Opp. 8

(internal quotation marks omitted). Terminology aside, this is a distinction without a difference,

as Steele allegedly used the media to influence the 2016 election while concealing his identity




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and foreign nationality. The Special Counsel then adds that Concord has not suggested how

acting as an anonymous source “would implicate the lawful functions of any government

agency,” but completely ignores the fact that Steele was working on-and-off as a confidential

human source for the FBI, and interacted with other U.S. federal officials—including officials

from the DOJ, FBI, State Department, Central Intelligence Agency, and staff of members of

Congress—in an effort to disseminate his unverified dossier of allegations against Trump,

Russian officials, and others.   Mot. 10-11.     Contrary to the Special Counsel’s statements,

therefore, the conduct identified in Concord’s motion in fact implicates the lawful function of at

least four government agencies and two branches of government. Moreover, Steele’s ultimate

goal was to publicly leak the information while remaining anonymous, which is far more

egregious than private Russian individuals posting opinions on social media.

       Finally, the Special Counsel attempts to distinguish the two instances Concord cites in

which foreign nationals allegedly made illegal campaign contributions, even though those are the

very same types of offenses, as discussed below, upon which the Special Counsel relies. Indeed,

the Special Counsel concedes, as he must, that there is at least one campaign contribution

violation that “has not yet resulted in a criminal prosecution.” Opp. 8. Surely, absent any legal

argument by the Special Counsel and given the unprecedented nature of the allegations in the

Indictment here, the examples Concord has cited of conduct by non-Russians that has gone

unprosecuted meets the standard required to obtain discovery in furtherance of a selective

prosecution claim. Hsia, 24 F. Supp. 2d at 49.

               B.     The Special Counsel’s claimed efforts to prosecute similar conduct are
                      narrowly drawn and irrelevant

       The Special Counsel claims that the government’s “overall record of prosecutions in

election-related cases” refutes Concord’s argument for discovery. Opp. 11. Not so. The cases



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the Special Counsel identifies are easily distinguishable because they rely almost exclusively on

allegations of illegal campaign contributions, not expenditures that are at issue here. See United

States v. Whittlemore, 776 F.3d 1074 (9th Cir. 2015) (U.S. citizen convicted of making excessive

campaign contributions, making contributions in the name of another, and making a false

statement to a federal agency); United States v. Smukler, --- F. Supp. 3d ---, No. 17-563-02, 2018

WL 3649555 (E.D. Pa. Aug. 1, 2018) (charges against U.S. citizen defendants for, inter alia,

making illegal campaign contributions); Third Superseding Indictment, United States v. Matsura,

No. 14-CR-388 (S.D. Cal. July 8, 2016) (charges against one foreign national and several U.S.

citizens for illegal campaign contributions); Indictment, United States v. Danielczyk, No. 11-CR-

85 (E.D. Va. Dec. 22, 2011) (charging executives of U.S.-based companies with conspiring to

violate campaign finance law by making illegal campaign contributions). The only case the SCO

relies upon that involves campaign expenditures is United States v. Benton, 890 F.3d 697 (8th

Cir. 2018), where the expenditure was a payment by Ron Paul’s 2012 presidential campaign to a

state senator in exchange for a political endorsement. Thus, despite the Special Counsel’s efforts

to look farther back in time to find cases that show the government has prosecuted similar cases,

he has found none. Moreover, he has put forth no evidence of other cases (like the instances of

non-prosecution cited by Concord) where a non-Russian individual or an entity has been

prosecuted based on the use of social media or other media in an effort to influence a presidential

election.

       The Special Counsel states that certain cases he cites involve “the very crime that

Concord is accused of committing.” Opp. 12. But this statement is demonstrably false. Here,

even according to the Special Counsel’s own theory of the case, the only possible “conspiracy to

defraud the United States by impairing the lawful functions of the [FEC],” id., involves the




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agency’s alleged inability to timely investigate a narrowly defined category of suspected

campaign expenditures by a foreign national. The cases relied upon by the Special Counsel

involve illegal campaign contributions to candidates and political parties, which are nowhere

charged in this case. See Hsia, 176 F.3d at 520 (illegal campaign contributions); United States v.

Braddock, Nos. 98-3114, 98-3125, 2013 WL 4441531 (D. Conn. Aug. 14, 2013) (scheme to

solicit illegal contributions and disguise them as lawful ones); Superseding Indictment, United

States v. Fieger, No. 07-20414, at 7 (E.D. Mich. Jan. 7, 2008) (use of corporate funds to make

prohibited campaign contributions and to disguise those prohibited contributions as legitimate

payments); United States v. Kanchanalak, 41 F. Supp. 2d 1 (D.D.C. 1999) (campaign

contribution violations and false statements based on those contributions), rev’d on other

grounds, 192 F.3d 1037 (D.C. Cir. 1999); United States v. Trie, 23 F. Supp. 2d 55 (D.D.C. 1998)

(same). These cases bear no similarity at all to the conduct charged in the Indictment and so do

nothing for the Special Counsel’s argument that the government’s prosecution history constitutes

evidence that Concord has not been selectively prosecuted.

       The Special Counsel also argues that Concord’s articulation of “similarly situated”

individuals who engaged in similar conduct is too narrow. Opp. 11. In support, it cites United

States v. Bourgeois, 964 F.2d 935, 941 (9th Cir. 1992), for the proposition that “the relevant

inquiry is the history of prosecutions over a reasonable period of time.” The reliance on this

language in Bourgeois is misplaced for two reasons. First, as discussed above, even looking at a

broader timeframe, the Special Counsel has been unable to identify relevant similar prosecutions

that have been brought against non-Russian individuals or entities that would refute Concord’s

claim of selective prosecution; and second, Bourgeois involved a selective prosecution claim

alleging that a disproportionate number of African Americans were being prosecuted in felon-in-




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possession cases, a situation where the court had a substantial amount of data available to it to

assess the selective prosecution claim. Id. Indeed, the court acknowledged a fundamental

difference between the facts of that case and those at play here, when it stated that “[a]s a felon

in possession of a firearm, [the defendant’s] situation differs from that of most defendants who

raise meritorious selective prosecution claims. Typically the crime charged is one rarely

prosecuted.” Id. (emphasis added). Here, this is not a case that is rarely prosecuted; instead it is

an unprecedented case charging a § 371 defraud conspiracy based on the allegedly deceptive use

of social media in a presidential election by private foreign nationals.

       In sum, the fact that the government can, and most certainly does, prosecute campaign

contribution cases, has nothing to do with the question of whether the government has failed to

prosecute other individuals—most notably, those identified in Concord’s motion—who engaged

in conduct that amounts to “roughly the same crime under roughly the same circumstances.”

Khanu, 664 F. Supp. 2d at 32.

               C.      Concord has produced sufficient evidence of discriminatory intent

       As a final matter, the Special Counsel argues that Concord has not made a showing of

improper intent by minimizing the importance of the Appointment Order, which authorized him

to conduct an investigation into “any links and/or coordination between the Russian government

and individuals associated with the campaign of President Donald Trump.”               The Special

Counsel’s efforts to now claim that he has broad discretion to pursue non-Russian individuals

and entities are belied by previous statements to this Court, which concede that he does not have

“open-ended authority” to investigate interference with the 2016 presidential election, but instead

that the “investigative mission” was “organized social-media active measures that were

emanating from Russia and funded by an individual and companies with close ties to the Russian

government.” Gov’t Opp. to Defendant’s Motion to Dismiss (ECF No. 47) at 46.


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       Moreover, the Special Counsel attempts to hide behind “concerns about disclosure of

‘foreign-intelligence products and techniques,’” and relies upon Reno v. American-Arab Anti-

Discrimination Committee, 525 U.S. 471, 491 (1999). But that reliance is misplaced. Reno—a

civil case claiming selective deportation—arose in the context of seeking immediate review of a

deportation decision, and makes no mention of discovery in furtherance of the selective

enforcement claim. Id. at 488-91. Moreover, the Court in Reno explicitly declined to consider

the merits of the underlying selective prosecution claim, making that case even less applicable

here. See Reno v. Am.-Arab Anti-Discrimination Committee, 524 U.S. 903 (1998) (granting

certiorari “limited to the following question: ‘Whether, in light of the Illegal Immigration

Reform and Immigrant Responsibility Act, the courts below had jurisdiction to entertain

respondents’ challenge to the deportation proceedings prior to the entry of a final order of

deportation?’”).

       Finally, the Special Counsel’s argument misses the larger point that a party seeking

discovery on a selective prosecution claim need not produce direct evidence of intent. See

United States v. Washington, 705 F.2d 489, 494-95 (D.C. Cir. 1983). Indeed, such evidence is

particularly hard to come by here, where neither the alleged crimes (which involve activities on

social media outlets) nor the government’s investigation of those crimes took place within the

public’s view. Accordingly, the indirect evidence in the Appointment Order is sufficient to

require discovery at this point.

       II.     Conclusion

       Concord has offered evidence of similar conduct related to efforts to influence the same

election it is alleged to have interfered with, and the Special Counsel—despite expanding its

search to include past elections over the course of many years—has failed to offer anything more

in defense of its prosecution decision thank cases involving campaign contributions. Concord


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has offered sufficient evidence as to both elements of the applicable test, and should be provided

with discovery in furtherance of its selective prosecution claim.

Dated: October 5, 2018                             Respectfully submitted,

                                                   CONCORD MANAGEMENT AND
                                                   CONSULTING LLC

                                                   By Counsel

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